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  AO 247(0208) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT                                               .-       -
                                                                  for the                                         .:.''

                                                        Southern District of Georgia
                                                                                                                          22
                   United States of America                         )
                                 V.                                 )
                                                                    ) CaseNo; CR298-00034-003
                         Joseph Jackson
                                                                    ) USMNo; 09861-021
Date of Previous Judgment: October 22, 2001                         ) Anna Tomberlin
(Use Date of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of J the defendant J the Director of the Bureau of Prisons           the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u). and having considered such motion,
IT IS ORDERED that the motion is:
         DENTED.        GRANTED and the defendant's previously imposed Sentence of imprisonment (as reflected in
                    the last judgment issued) of 168       months is reduced to         135 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     33                                         Amended Offense Level:     31
Criminal History Category: III                                         Criminal History Category: Ill
Previous Guideline Range: 168                 to 210 months            Amended Guideline Range: 135 to 168 months
IL SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 J Other (explain):



IlL ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated              October 22, 2001,_ shall remain in effect.
IT IS SO ORDERED.

Order Date:        March 12, 2008
                                                                                          Jue' s signature



Effective Date: ______________________                                Judge, U.S. District Court
                  (if different from order date)                                        Printed name and title
